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                             UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON



KELSEY CASCADIA ROSE JULIANA;                 Case No.: 6:15-cv-01517-TC
XIUHTEZCATL TONATIUH M., through his
Guardian Tamara Roske-Martinez; et al.
               Plaintiffs,                    DECLARATION OF JULIA A. OLSON
                                              in Support of Plaintiffs’ Motion In Limine
v.                                            Seeking Judicial Notice of Federal
                                              Government Documents
The UNITED STATES OF AMERICA;
DONALD TRUMP, in his official capacity as
President of the United States; et al.,
              Defendants.




DECLARATION OF JULIA A. OLSON IN SUPPORT OF PLAINTIFFS’ MOTION
IN LIMINE SEEKING JUDICIAL NOTICE
I, Julia A. Olson, hereby declare and if called upon would testify as follows:

   1. I am an attorney of record in the above-entitled action. I make this Declaration in support

       of Plaintiffs’ Motion In Limine Seeking Judicial Notice of Federal Government

       Documents. I have personal knowledge of the facts stated herein, except as to those stated

       on information and belief, and if called to testify, I would and could testify competently

       thereto.

   2. Since the commencement of this litigation, counsel for Plaintiffs have been engaged in

       extensive informal discovery concerning documents available as public records from

       federal government sources. Counsel for Plaintiffs and our support staff have conducted a

       significant amount of research from Presidential libraries, government archives, and

       governmental websites. Many of the documents obtained through this process are

       relevant to the issues in this case and are properly subject to judicial notice, as suggested

       by Magistrate Judge Coffin during the June 6, 2018 Status Conference.

   3. On behalf of Plaintiffs, I have met and conferred with counsel for Defendants on this

       procedure. The questions discussed in our meet and confer concerned the following

       issues in connection with Plaintiffs’ response to the Motion for Summary Judgment:

       (i) Plaintiffs’ ability to rely upon Federal Government records that have yet to be

       authenticated, but which Plaintiffs wish to rely upon in their response; and (ii)

       declarations from Plaintiffs’ experts who have prepared expert reports but are not

       available to separately prepare declarations by June 28, when Plaintiffs’ response is due.

       As a result of these meet and confer efforts, the parties agreed: (a) Plaintiffs will attach

       and submit government records that they will Bates stamp and that they rely upon in their

       response coupled with a request that the Court take judicial notice of those records; and



DECLARATION OF JULIA A. OLSON IN SUPPORT OF PLAINTIFFS’ MOTION                                         2	  
IN LIMINE SEEKING JUDICIAL NOTICE
       (b) Plaintiffs will submit short declarations from their experts attaching and

       authenticating their expert reports.

   4. Attached as Appendix 1-9 to the Motion In Limine are tables containing publicly

       available federal government documents and webpages. Each table has seven columns

       contain the following information: (1) Exhibit number; (2) Title of the referenced

       document; (3) Date of the referenced document; (4) Bates number(s) given by Plaintiffs

       to the referenced document; (5) Source/Author of the referenced document; (6) website

       url for the referenced document; and (7) the date the referenced document was accessed

       by Plaintiffs.

   5. All of the documents for which Plaintiffs seek judicial notice contain material facts that

       are relevant to Plaintiffs’ claims.

   6. True and correct copies of all documents listed in each of the tables that Plaintiffs seek to

       have judicially noticed are attached to my Declaration as Exhibits 1-385.

In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct.


DATED this 28th day of June, 2018.
                                                     Respectfully submitted,


                                                       /s/ Julia A. Olson
                                                     Julia A. Olson




DECLARATION OF JULIA A. OLSON IN SUPPORT OF PLAINTIFFS’ MOTION                                     3	  
IN LIMINE SEEKING JUDICIAL NOTICE
